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  9                               UNITED STATES BANKRUPTCY COURT

 10                               NORTHERN DISTRICT OF CALIFORNIA

 11

 12   In re: Jack Emerson Harrison                          Case No. 18-42556

 13                     Debtor.                             Chapter 13

 14                                                         MOTION TO VALUE WHOLLY
                                                            UNSECURED DEED OF TRUST IN
 15                                                         FAVOR OF BOSCO CREDIT LLC
                                                            SERVICER FOR FRANKLIN CREDIT
 16                                                         MANAGEMENT CORPORATION

 17
          MOTION TO VALUE WHOLLY UNSECURED DEED OF TRUST IN FAVOR OF
 18
         BOSCO CREDIT LLC AS SERVICER FOR FRANKLIN CREDIT MANAGEMENT
 19
                                             CORPORATION
 20
             The debtor moves this Court for an Order Valuing the Wholly Unsecured Deed of Trust in
 21
      favor of Bosco Credit LLC servicer for Franklin Credit Management Corporation which is
 22

 23
      currently attaching in second position to his residence located at 5184 Sandmound Boulevard,

 24   Oakley, California.

 25           I.      Creditor’s Claim Secured By A Lien Is Only Secured To The Extent Of The Value

 26                   Of Such Creditor’s Interest In Said Property
 27

 28    MOTION TO VALUE WHOLLY UNSECURED DEED OF TRUST IN FAVOR OF BOSCO CREDIT LLC AS SERVICER
                           FOR FRANKLIN CREDIT MANAGEMENT CORPORATION

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  1              “An allowed claim of a creditor secured by a lien on property in which the estate has an
  2   interest or that is subject to setoff under 11 U.S.C. §553 of this title, is a secured claim to the
  3   extent of the value of such creditor’s interest in the estate’s interest in such property . . .” 11
  4
      U.S.C. §506(a)(1). Subsection (a) of 11 U.S.C. §506 determines the amount of a secured claim.
  5
      Under 11 U.S.C. §506(a)(1), a creditor with a lien has an allowed secured claim only to the extent
  6
      of the amount of the value of the collateral.
  7
                 11 U.S.C. §1322(b)(2) provides that a plan may modify the rights of holders of secured
  8
      claims, other than a claim secured by a security interest in real property that is the debtor’s
  9
      principal residence . . . . However, where a creditor’s claim, which is seemingly secured only by
 10
      an interest in the debtor’s primary residence, is determined to be entirely unsecured pursuant to 11
 11

 12
      U.S.C. §506, the lien is void. See In re Zimmer, 313 F.3d 1220 (9th Cir. 2002). See Also Federal

 13   Procedure of Bankruptcy 3012.

 14               II.    The Subject Deed of Trust Is Wholly Unsecured

 15              In support of this motion the debtor states as follows:
 16              1.      The debtor owns the real property commonly known as 5184 Sandmound Blvd.,
 17   Oakley, California (“property”).
 18
                 2.      At the time of filing the property was encumbered by the following obligations in
 19
      order of priority.
 20
      CREDITOR                                   POSITION                                       BALANCE
 21
      Ocwen Loan Servicing LLC                   First Deed of Trust 1                          $585,662.38
 22

 23   Bosco Credit LLC servicer for              Second Deed of Trust 2                         $ 115,076.93
      Franklin Credit Management
 24

 25
      1
          See claim filed on December 10, 2018
 26
      2
          See claim filed on November 28, 2018
 27

 28       MOTION TO VALUE WHOLLY UNSECURED DEED OF TRUST IN FAVOR OF BOSCO CREDIT LLC AS SERVICER
                              FOR FRANKLIN CREDIT MANAGEMENT CORPORATION

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  1
             3.        The property is valued at $450.000
  2
                A true and correct copy of a Notice of Trustee’s Sale, demonstrating the balance owed on
  3
      the subject Deed of Trust, is attached as Exhibit A to the Declaration of Debtor in support of this
  4
      motion. A true and correct copy of the a Notice of Default and Election to Sell Under Deed of Trust
  5
      demonstrating the balance owed on the subject Deed of Trust is attached as Exhibit B to the
  6
      Declaration of Debtor in support of this motion. A true and correct copy of the pertinent parts of
  7
      Claim 1-1 filed herein on November 28, 2018, by Bosco Credit LLC servicer for Franklin Credit
  8
      Management Corporation is attached as Exhibit C to the Declaration of Debtor in support of this
  9

 10
      motion.

 11          This motion is supported by the Declaration of Debtor in Support of Motion to Value

 12   Wholly Unsecured Deed of Trust in Favor of Bosco Credit LLC Servicer for Franklin Credit

 13   Management Corporation filed herewith.
 14          This motion is supported by the Declaration of Michael J. Primus in Support of Motion to
 15   Value Deed of Trust filed herewith.
 16
             WHEREFORE, the debtor seeks an Order of this Court Valuing the Deed of Trust in
 17
      second position in favor of Bosco Credit LLC servicer for Franklin Credit Management
 18
      Corporation and rendering this creditor wholly unsecured for purposes of the plan as to the Deed
 19
      of Trust recorded February 28, 2007 in the State of California, County of Contra Costa and given
 20
      document number DOC-2007-0059459-00.
 21

 22

 23
      Dated: December 20, 2018                       /s/ Michael J.Primus
 24                                                  MICHAEL J. PRIMUS
                                                     Attorney for Debtor
 25

 26

 27

 28    MOTION TO VALUE WHOLLY UNSECURED DEED OF TRUST IN FAVOR OF BOSCO CREDIT LLC AS SERVICER
                           FOR FRANKLIN CREDIT MANAGEMENT CORPORATION

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